 1    Bruce G. Macdonald (No. 010355)
      McNAMARA, GOLDSMITH, JACKSON
 2     & MACDONALD
      A Professional Corporation
 3    1670 E. River Road, Suite 200
      Tucson, Arizona 85718
 4
      Telephone: (520) 624-0126
 5    Facsimile: (520) 624-9238 – FAX
      E-mail:bmacdonald@mgjmlegal.com
 6
      Attorneys for the Official Tort Claimants
 7    Committee
 8
                                IN THE UNITED STATES BANKRUPTCY COURT
 9

10                                    FOR THE DISTRICT OF ARIZONA

11    In re:                                              Chapter 11
12
      THE ROMAN CATHOLIC CHURCH OF THE                    Case No. 4-04-bk-04721-JMM
13    DIOCESE OF TUCSON aka THE DIOCESE OF
      TUCSON,
14                                                          MOTION UNDER FED. R. BANKR. P. 9019
15
                      Debtor.                               FOR APPROVAL OF STIPULATION FOR
                                                             SETTLEMENT AND ALLOWANCE OF
16                                                                    TORT CLAIM
17

18             The Official Committee of Tort Claimants (the “Committee”), in its capacity as representative

19    for the Tort Claimants in the above captioned Chapter 11 reorganization case (the "Reorganization
20
      Case"), hereby respectfully requests that the Court enter an Order under Fed. R. Bankr. P. 9019
21
      approving that certain stipulation for resolution of Tort Claim (the "Stipulation") between the
22
      Committee and the Roman Catholic Church of the Diocese of Tucson (the “Diocese”) and Claimant 220
23

24    who filed that certain proof of claim identified on the official claims register of the United States

25    Bankruptcy Court for the District of Arizona for this Reorganization Case as claim no. 220 (the
26
      "Claimant"). A true and correct copy of the Stipulation is attached to and by this reference is
27
      incorporated into this Motion as Exhibit "1".
28




     Case 4:04-bk-04721-BMW         Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28            Desc
                                     Main Document 1Page 1 of 14
 1            The Court has jurisdiction over this Motion as a "core proceeding" to enter a final order under 28
 2
      U.S.C. §§ 157(b)(1),(A), (B) & (O), and 1334. This Motion is based on Fed. R. Bankr. P. 9019.
 3
              This Motion is supported by: (i) the attached Memorandum of Points and Authorities; (ii) the
 4

 5
      attached Stipulation; and (iii) the entire record before the Court in this Reorganization Case.

 6
              DATED this      16TH day of October 2006.
 7                                                            McNAMARA, GOLDSMITH, JACKSON &
 8                                                                MACDONALD, P.C.

 9

10
                                                              By:     s/Bruce G. Macdonald
11                                                                    Bruce G. Macdonald
                                                                      Attorneys for Official Tort Claimants
12                                                                    Committee
13

14                             MEMORANDUM OF POINTS AND AUTHORITIES

15            On September 20, 2004 (the "Petition Date"), the Diocese commenced the Reorganization Case
16
      by filing a voluntary Chapter 11 petition. The Diocese has remained a debtor-in-possession under 11
17
      U.S.C. §§ 1107 and 1108 since the Petition Date.
18
      I.     BACKGROUND
19

20            The Diocese is the reorganized debtor in the above-styled and numbered chapter 11 case (the

21    "Reorganization Case") pending in the United States Bankruptcy Court for the District of Arizona (the
22
      "Bankruptcy Court"). Claimant filed that certain proof of claim identified on the official claims register
23
      of the United States Bankruptcy Court for the District of Arizona for this Reorganization Case as claim
24

25
      no. 220 (the "Proof of Claim"). 1

26

27    1
       Terms used herein, which are not otherwise defined herein, will have the same meaning as defined in the
28    Confirmed Plan of Reorganization.




     Case 4:04-bk-04721-BMW          Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28                    Desc
                                      Main Document 2Page 2 of 14
 1               On October 14, 2004, the Office of the United States Trustee appointed an official committee of
 2
      tort creditors (the "Committee") (Dkt # 79).
 3
                 On May 25, 2005, the Debtor filed the Third Amended and Restated Plan of Reorganization (the
 4

 5
      "Plan") and corresponding Third Amended and Restated Disclosure Statement (the "Disclosure

 6    Statement"). The Court entered its Order Confirming the Plan on August 1, 2005. A final version of the
 7    Plan was filed on September 21, 2005. Dkt #887. The Effective Date of the Plan occurred on September
 8
      20, 2005.
 9
                 The Plan contemplates that, after the Effective Date, the Committee and the Diocese can settle
10

11    claims even though the claims resolution process with the Special Arbitrator has commenced. In

12    carrying out the intent of the Committee and the Diocese that there be settlement of Tort Claims to the
13
      extent possible, the Committee and the Diocese, with the assistance of the Special Arbitrator acting as a
14
      mediator 2 , mediated this case with the Claimant and his attorney on October 3, 2006.
15
                 The parties to the Stipulation have knowledge of Claimants' allegations made in the Proofs of
16

17    Claim, the pleadings, and the disclosures made in these proceedings, along with those contained in the

18    books and records of the Diocese. In light of the risks of litigation, the parties wish to enter into the
19
      Stipulation and the settlement represented to resolve Claimant's claims in the context of the Confirmed
20
      Plan.
21

22
                 Accordingly, the Stipulation, which represents the settlement arrived at, generally provides as

23    follows:
24               A.      The parties to the Stipulation agree to grant the Claimant an Allowed Tort Claim in the
25
      amount of $120,000. Claimant agrees to waive any claims for further distributions afforded to Settling
26

27
      2
28        The Parties agreed to the Special Arbitrator also acting as the mediator.




     Case 4:04-bk-04721-BMW               Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28          Desc
                                           Main Document 3Page 3 of 14
 1    Tort Claimants pursuant to the Plan.
 2
                 B.     The Committee agrees that the distributions and any other compensation being made to
 3
      Claimant pursuant to the Stipulation and the Plan are for compensation of his claim of physical injury.
 4

 5
      II.        LEGAL ARGUMENT

 6               Rule 9019(a), Federal Rules of Bankruptcy Procedure, authorizes a trustee (or debtor-in-
 7    possession), upon court approval, to enter into settlements. The decision of whether a settlement should
 8
      be accepted or rejected lies within the sound discretion of the court. The legal principles that should
 9
      guide the exercise of the court's discretion in approving an application for settlement are well established
10

11    and include the following:

12                      a.      The probability of success in the litigation;
13
                        b.      The difficulties, if any, to be encountered in the matter of collection;
14
                        c.      The complexity of the litigation involved, and the expense, inconvenience and
15
                 delay necessarily attending it; and
16

17                      d.      The paramount interests of the creditors and a proper deference to their reasonable

18               views in the premises.
19
                 In re A & C Properties, 784 F.2d 1377, 1381 (9th Cir. 1986), cert. denied sub nom. Martin v.
20
      Robinson, 479 U.S. 854 (1986); In re Blair, 538 F.2d 849, 851 (9th Cir. 1976); In re Gordon, 275 B.R.
21

22
      555, 570 (Bankr. E.D. Ca. 2002); In re Colotran, Inc., 218 B.R. 507, 511 (B.A.P. 9th Cir. 1997). See

23    also In re General Store of Beverly Hills, 11 B.R. 539, 541 (B.A.P. 9th Cir. 1981) (in ruling on a request
24    to compromise a dispute, a court should consider the expense, benefits, hazards, complexity, the time
25
      required to litigate, and whether disallowance of the settlement would result in waste of the estate's
26
      assets).
27

28               In determining whether to approve a proposed settlement, the bankruptcy court does not




     Case 4:04-bk-04721-BMW               Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28                Desc
                                           Main Document 4Page 4 of 14
 1    substitute its judgment for that of the settlement's proponents. Id. at 574. The responsibility of the
 2
      bankruptcy judge is not to decide the numerous questions of law and fact that may be raised regarding
 3
      the settlement, but rather to canvass the issues and see whether the settlement falls below the lowest
 4

 5
      point in the range of reasonableness. In re Energy Coop., 886 F.2d 921 (7th Cir. 1989); In re Teltronics

 6    Services, Inc., 762 F.2d 185, 189 (2d Cir. 1985); U.S. ex rel. Rahman v. Oncology Associates P.C., 269
 7    B.R. 139, 149 (D. Md. 2001); In re Genesis Health Ventures, Inc., 266 B.R. 591, 620 (Bankr D. Del.
 8
      2001); In re Ashford Hotels, Ltd., 226 B.R. 797, 802 (Bankr. S.D.N.Y. 1998); In re Martin, 212 B.R.
 9
      316, 319 (B.A.P. 8th Cir. 1997). Thus, a mini-trial on the merits of the claims or a bankruptcy judge's
10

11    independent investigation into the underlying dispute sought to be compromised is not required. In re

12    Walsh Construction, Inc., 669 F.2d 1325, 1328 (9th Cir. 1982); Blair, 538 F.2d at 851; Martin, 212 B.R.
13
      at 319 ("The court does not substitute its judgment for that of the trustee, but reviews the issues to see if
14
      the settlement falls below the lowest point of reasonableness").
15
             In determining the reasonableness of the settlement, the bankruptcy judge may weigh the
16

17    opinions of the trustee, the parties and their attorneys, and may consider the principals' belief that all of

18    the factors bearing upon the appropriateness of the settlement have been explored and that the
19
      compromise is fair, equitable and the wisest course. Blair, 538 F.2d at 851. Moreover, the court may
20
      consider the competency and experience of counsel who support the compromise. International
21

22
      Distribution Centers, 103 B.R. at 423; In re Texaco, Inc., 84 B.R. 893, 902 (Bankr. S.D.N.Y. 1988); see

23    also, Walsh Construction, 669 F.2d at 1328.
24           Finally, in reviewing a proposed settlement, the court must be mindful of the fact that the law
25
      favors compromise (A & C Properties, 784 F.2d at 1381; Blair, 538 F.2d at 851) and that the bankruptcy
26
      court is uniquely situated to evaluate whether a compromise is in the best interest of the bankruptcy
27

28    estate. Walsh Construction, 669 F.2d at 1328.




     Case 4:04-bk-04721-BMW          Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28                 Desc
                                      Main Document 5Page 5 of 14
 1            Unlike other claimants, Claimant 220 will get these funds ‘up front.’ In exchange, Claimant 220
 2
      has agreed to waive any possibility of future recovery. The Committee and the Debtor believe that this
 3
      solution comports with a reasonable exercise of business judgment and is in harmony with treatment
 4

 5
      afforded other Settling Claimants under the Plan and with the intent of the Plan.

 6    III.    CONCLUSION
 7            WHEREFORE, the Committee requests that the Court enter an Order:
 8
              A.      Granting the Motion;
 9
              B.      Approving the Stipulation; and
10

11            C.      Granting such other relief as the Court deems just and proper under the circumstances.

12
              DATED October 16 , 2006.                      McNAMARA, GOLDSMITH, JACKSON &
13
                                                                MACDONALD, P.C.
14

15
                                                            By:     s/Bruce G. Macdonald
16
                                                                    Bruce G. Macdonald
17                                                                  Attorneys for Official Committee of
                                                                    Claimants
18
      Copy of the foregoing e-mailed October 17 , 2006 to:
19

20    Gerard R. O'Meara                     Tom Zlaket                        Susan Boswell
      GUST ROSENFELD                        Thomas A. Zlaket, P.L.L.C.        Kasey Nye
21    One S. Church Ave., #1900             310 S. Williams Blvd., #170       Quarles Brady Streich Lang, LLP
      Tucson, AZ 85701                      Tucson, AZ 85711-4446             One S. Church Ave, Suite 1700
22    gromeara@gustlaw.com                  tazlaket@qwest.net                Tucson, AZ 85701
      Attorneys for the Diocese of Tucson   Attorneys for the Diocese of      sboswell@quarles.com
23
                                            Tucson                            Attorneys for the Diocese of Tucson
24
      Lynne Cadigan                         Lowell E. Rothschild              Rob Charles
      Kim E. Williamson                     Michael McGrath                   Lewis and Roca LLP
25    504 S. Stone Ave.                     Mesch Clark & Rothschild, P.C     One S. Church Ave., Suite 700
      Tucson, AZ 85701                      259 N, Meyer Avenue               Tucson, AZ 85701-1611
26    lmcadigan@qwest.net                   Tucson, AZ 85701-1090             rcharles@lrlaw.com
      kewilliamson@qwest.net                lrothschild@mcrazlaw.com          Attorneys for Catholic Foundation
27    Co-Counsel for Plaintiffs             mmcgrath@mcrazlaw.com             for the Diocese of Tucson
                                            Attorneys for Roman Catholic
28
                                            Parishes




     Case 4:04-bk-04721-BMW          Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28                 Desc
                                      Main Document 6Page 6 of 14
 1    Neil J. Konigsberg                     Donald L. Gaffney                Robert B. Millner
      Konigsberg Law Office PLLC             Jonathan M. Saffer               Kevin P. Kamraczewski
 2
      2302 E. Speedway Blvd., #104           Snell & Wilmer L.L.P.            Patrick C. Maxcy
 3
      Tucson, AZ 85719-4732                  One S. Church Ave., #1500        Sonnenschein Nath & Rosenthal
      Neil.konigsberg@azbar.org              Tucson, AZ 85701-1630            8000 Sears Tower
 4    Attorneys for Tucson Electric          dgaffney@swlaw.com               Chicago, IL 60606
      Power                                  jmsaffer@swlaw.com               rmillner@sonnenschein.com
 5                                           Attorneys for Pacific Employers  kevink@sonnenschein.com
                                             Insurance Company                pmaxcy@sonnenschein.com
 6                                                                            Attorneys for Pacific Employers
                                                                              Insurance Company
 7
      G. David Delozier, P.C.                Nancy J. March                   Robert K. Malone
 8    4016 E. Forest Pleasant Place          DeConcini, McDonald, Yetwin & Michael P. Pompeo
      Cave Creek, AZ 85331                   Lacy, P.C.                       Drinker Biddle & Reath LLP
 9    gddelozier@aol.com                     2525 E. Broadway Blvd., #200     500 Campus Drive
      Attorneys for John Doe XXIII           Tucson, AZ 85716-5300            Florham Park, NJ 07932
10    Attorneys for Mother of John Doe       nmarch@dmyl.com                  Robert.malone@dbr.com
      XXIII                                  Attorneys for St. Paul Travelers Michael.pompeo@dbr.com
11    Attorneys for Confidential Claimant                                     Attorneys for St. Paul Travelers
      #86662
12
      Christopher R. Kaup                    Craig Goldblatt                    James A. Hayes, Jr.
13    Gregory W. Seibt                       Wilmer Cutler Pickering Hale and   Cummins & White, LLP
      Tiffany & Bosco P.A.                   Dorr LLP                           2424 S.E. Bristol St., #300
14    Third Floor Camelback Esplanade        2445 M Street                      Newport Beach, CA 92660-0757
      2525 E. Camelback Road                 Washington, D.C. 20037             jhayes@cwlawyers.com
15    Phoenix, AZ 85016-4237                 Craig.Goldblatt@wilmerhale.com     Attorneys for Roman Catholic
      crk@tblaw.com                          Attorneys for Hartford Fire        Bishop of Orange (California)
16    gws@tblaw.com                          Insurance Company and First
      Attorneys for Biltmore Associates as   State Insurance Company
17
      Agent for Certain Creditors
18    Christopher J. Pattock                 Marjorie Fisher Cunningham         Michael Zimmer
      Office of the U.S. Trustee             Curtis & Cunningham                Zalkin & Zimmer LLP
19    230 N. First Ave., Rm. 204             5610 E. 22nd Street                12555 High Bluff Drive Suite 215
      Phoenix, AZ 85003-1725                 Tucson, AZ 85711-5525              San Diego, CA 92130
20    christopher.j.pattoc@usdoj.gov         mfc@theriver.com                   mz@zalkin.com
                                             Attorneys for Plaintiffs           Attorneys for Plaintiffs
21
      A. Bates Butler                        Charles L. Arnold                  Clifford B. Altfeld
22
      Fennemore Craig, P.C.                  Frazer Ryan Goldberg Arnold &      Leonard Felker Altfeld Greenberg
      One South Church, Suite 100            Gittler, LLP                       & Battaile, P.C.
23    Phoenix, AZ 85012-2615                 3101 N Central, Suite 1600         250 N. Meyer Avenue
      bbutler@fclaw.com                      Phoenix, AZ 85012-2615             Tucson, AZ 85701
24    Unknown Claims Representative          Charles.Arnold@azbar.org           cbaltfeld@lfagb.com
                                             Guardian Ad Litem                  Attorneys for Plaintiffs
25

26

27

28




     Case 4:04-bk-04721-BMW           Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28                 Desc
                                       Main Document 7Page 7 of 14
 1    Lawrence S. Viola                      David A. Fitzgibbons               Sally M. Darcy
      Knapp & Viola                          April P. Elliot                    McEvoy, Daniels & Darcy, P.C.
 2
      P.O. Box 1290                          Fitzgibbons Law Offices, P.L.C.    Camp Lowell Corporate Center
 3
      San Mateo, CA 94401                    711 E. Cottonwood Lane, Suite E    4560 East Camp Lowell Dr.
      lviola@violaw.com                      Casa Grande, AZ 85230              Tucson, Arizona 85712
 4    Attorney for Plaintiffs                david@fitzgibbonslaw.com           darcysm@aol.com
                                             aelliott@fitzgibbonslaw.com        Attorneys for Unknown Claims
 5                                           Attorneys for St. Anthony de       Representative
                                             Padua School
 6
      Walter F. Wood                         Ivan S. Abrams                     Daniel J. Quigley
 7
      Walter F. Wood, LTD.                   Law Offices of Ivan S. Abrams      Quigley & Whitehill, P.L.C.
 8    110 S. Church Ave., Suite 4398         177 North Church Ave., Suite 200   2730 E. Broadway Blvd. #160
      Tucson, AZ 85701                       Tucson, AZ 85701                   Tucson, AZ 85716-5384
 9    walterfwood@aol.com                    tucson3985@aol.com                 Quigley@qw-law.com
      Attorney for Brian O'Connor                                               Attorneys for St. Augustine Catholic
10                                                                              High School

11    Copy of the foregoing mailed October 17 , 2006 to:
12
      First Catholic Slovak Ladies           Terri Thiessen                     Belen Alderete
13    24950 Chagrin Blvd.                    3781 W. Golfcourse Rd.             215 N. West Moreland
      Beachwood, OH 44122                    Thatcher, AZ 85446                 Tucson, AZ 85745
14    Thomas Groom                           Michael Moylan                     Jeanne Metzger
      P.O. Box 673                           1724 W. Pineriver Place            P.O. Box 69681
15    West Plains, MO 65775                  Tucson, AZ 85746                   Oro Valley, AZ 85737
      Official Creditors Committee of Tort   Official Creditors Committee of    Official Creditors Committee of Tort
16
      Creditors                              Tort Creditors                     Creditors
17
      Diana Holmes                           Brian O'Connor                     Ronald G. Dandar
      P.O. Box 1305                          3704 S. Marvin                     Old Route 22
18    Sonoita, AZ 85637                      Tucson, AZ 85730                   P.O. Box A-AP 6933
      Official Creditors Committee of Tort   Official Creditors Committee of    Cresson, PA 16699-0001
19    Creditors                              Tort Creditors

20

21    By:     s/Mary Ellen Shannon
22

23

24

25

26

27

28




     Case 4:04-bk-04721-BMW            Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28                 Desc
                                        Main Document 8Page 8 of 14
                     EXHIBIT A
Case 4:04-bk-04721-BMW   Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28   Desc
                          Main Document    Page 9 of 14
 1    Bruce G. Macdonald (No. 010355)
      McNAMARA, GOLDSMITH, JACKSON
 2     & MACDONALD, P.C.
      1670 E. River Road, Suite 200
 3    Tucson, Arizona 85718
 4    Telephone: (520) 624-0126
      Facsimile: (520) 624-9238 – FAX
 5    E-mail:bmacdonald@mgjmlegal.com
 6    Attorneys for the Official Tort Claimants
      Committee
 7
                               IN THE UNITED STATES BANKRUPTCY COURT
 8

 9                                    FOR THE DISTRICT OF ARIZONA

10    In re:                                                Chapter 11
11
      THE ROMAN CATHOLIC CHURCH OF THE                      Case No. 4-04-bk-04721-JMM
12    DIOCESE OF TUCSON aka THE DIOCESE OF
      TUCSON,
13                                                            STIPULATION FOR SETTLEMENT AND
14
                     Debtor.                                     ALLOWANCE OF TORT CLAIM

15
               THIS STIPULATION entered into this 14TH day of October 2006, by and Claimant 220
16

17    ("Claimant") and the Official Committee of Tort Creditors (the “Committee”) and the Roman Catholic

18    Church of the Diocese of Tucson ("Debtor").
19
                                                    RECITALS
20
               1.    Debtor is the Debtor and Debtor in Possession in the above-styled and numbered chapter
21
      11 case (the "Reorganization Case") pending in the United States Bankruptcy Court for the District of
22

23    Arizona (the "Bankruptcy Court").

24             2.    Claimant filed that certain proof of claim identified on the official claims register of the
25
      United States Bankruptcy Court for the District of Arizona for this Reorganization Case as claim #220
26
      (the “Proof of Claim”). The real name of Claimant is known to the parties to this Stipulation and is
27

28
      available to the Bankruptcy Court in the Proof of Claim that was filed under seal pursuant to the




     Case 4:04-bk-04721-BMW         Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28                 Desc
                                    Main Document    1Page 10 of 14
 1    Bankruptcy Court's Order Granting Motion To File Under Seal, dated November 5, 2004 (Dkt # 118).
 2
              3.      On September 20, 2004, Debtor filed a Plan of Reorganization (Dkt # 17) and its
 3
      Disclosure Statement (Dkt # 18). Since that time, the Debtor has amended and restated the Plan of
 4

 5
      Reorganization and the Disclosure Statement and on May 25, 2005, filed the Third Amended and

 6    Restated Plan of Reorganization (the "Plan") and corresponding Third Amended and Restated
 7    Disclosure Statement (the "Disclosure Statement"). The Plan was confirmed on July 11, 2005 and the
 8
      Confirmation Order was entered on August 1, 2005. 1 The Effective Date of the Plan occurred on
 9
      September 20, 2005.
10

11            4.      The Plan provides, inter alia, for the separate classification of "Tort Claims" defined in

12    the Plan to include claims for physical injury arising from acts of sexual abuse committed by clergy or
13
      other persons associated with Debtor or any parish within Debtor. The Plan further provides for
14
      establishing a settlement trust (the "Settlement Trust"), which provides a dedicated fund through which
15
      Tort claimants will be able to receive timely compensation for injuries resulting from sexual abuse in
16

17    accordance with the terms of the Plan. The Plan contemplates that in order to determine the level of

18    compensation under the Settlement Trust, Tort Claims generally will be classified into one of four
19
      "tiers" for purposes of settlement. The criteria for classifying Tort Claims into particular tiers is found at
20
      Article 15 of the Plan and calls for classifying Tort Claims based upon the relative strength of the
21

22
      credible evidence regarding: (i) the actual acts of abuse; (ii) the injury suffered by the claimant; (iii)

23    whether the claim would be barred by the statute of limitations or other affirmative defenses; (iv)
24    whether the Diocese would have legal responsibility including the presence or absence of a supervisory
25

26
      1
27        Capitalized terms used herein that are not otherwise defined herein will have the meaning ascribed to such
      terms in the Third Amended and Restated Plan of Reorganization filed by Debtor on September 21, 2005. Dkt
28    #887.




     Case 4:04-bk-04721-BMW           Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28                     Desc
                                      Main Document    2Page 11 of 14
 1    relationship to the perpetrator and the presence or absence of prior knowledge that the perpetrator was
 2
      an abuser; and (v) the claim was timely filed.
 3
             5.      The Plan also provides for, among other things, the ability of the Committee to settle Tort
 4

 5
      Claims in a manner deemed in the best interests of the Tort Claimants with Allowed Tort Claims and

 6    with a view toward maximizing the distributions to such Tort Claimants while taking into account the
 7    need to fairly and equitably treat all Allowed Tort Claims.
 8
             7.      The parties have engaged in mediation with the Special Arbitrator and are willing to
 9
      settle Claimant’s Tort Claim and allow the alleged Tort Claim in the amount of $120,000 as a one time
10

11    payment in light of the special risks presented by continuing litigation with Claimant, the costs of such

12    litigation, and the desirability of resolving Claimant's Claim in the context of the status of the
13
      Reorganization Case. Claimant hereby agrees to accept Allowance of his alleged Tort Claim in the
14
      amount of $120,000 and has further agreed that he will receive no further distributions under the Plan.
15
             9.      Therefore, based upon the consideration, covenants, and agreements of the Claimant and
16

17    the Debtor as set forth in this Stipulation, the Parties agree as set forth below:

18           Agreement
19
                     A.      The Parties hereby expressly incorporate the foregoing "Recitals" into the
20
             "Agreement" of the Stipulation as though fully set forth herein.
21

22
                     B.      The Diocese, the Committee and Claimant hereby stipulate to grant Claimant an

23           Allowed Tort Claim in the amount of $120,000 (the "Claim No. 220 Payment") with payment to
24           be made in accordance with the terms for settling claims under the Plan. The Claim 220
25
             Payment will be a one-time payment outside of the Tier system provided for under the Plan, and
26
             the Claimant will not receive any further distributions from the Trust on account of his Allowed
27

28           Tort Claim.




     Case 4:04-bk-04721-BMW          Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28               Desc
                                     Main Document    3Page 12 of 14
 1                 C.      In the event that any creditor or other party in interest objects to this Stipulation
 2
            and such objection is upheld by the Bankruptcy Court, all rights of the Claimant and the Debtor
 3
            with respect to allowance, disallowance, partial allowance, or otherwise of the Proof of Claim
 4

 5
            are hereby fully reserved until entry of a final order of the Bankruptcy Court approving this

 6          Stipulation.
 7                 D.      This is a settlement of a disputed and unliquidated claim. Neither party to this
 8
            settlement admits the truth of the other party's allegations, and neither party to this settlement
 9
            admits any liability to the other party. The Debtor agrees that the compensation being made to
10

11          Claimant pursuant to this Stipulation and the Plan are for compensation of physical injuries.

12                 E.      The Parties acknowledge that the consummation of this Stipulation requires the
13
            approval of the Bankruptcy Court. By executing this Stipulation, each of the Parties agree to
14
            proceed with reasonable diligence and to use best efforts to obtain the necessary approvals. The
15
            Parties agree that the Bankruptcy Court will retain jurisdiction under this Stipulation and the Plan
16

17          to enforce the terms of this Stipulation.

18                 F.      The Claimant shall be entitled to receive psychiatric and/or psychological
19
            counseling in according with the policies of the Diocese and the Victim Assistance Program at
20
            no cost to Claimant but limited to thirty (30) sessions.
21

22
                   G.      Upon execution of the Stipulation, it shall be presented by counsel for the

23          Committee to the Bankruptcy Court for approval. When approved by order of the Court, the
24          Stipulation shall be effective according to its terms as a post-petition agreement negotiated by the
25
            Committee and as the Court's adjudication of the matters set forth herein.
26
                   H.      Claimant acknowledges and agrees that he is bound by the terms of the Plan,
27

28          which was confirmed by the Bankruptcy Court’s Order of August 1, 2005.




     Case 4:04-bk-04721-BMW        Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28                 Desc
                                   Main Document    4Page 13 of 14
 1                 I.     The Stipulation may be signed in any number of counterparts, including facsimile
 2
            transmittals, each of which shall be deemed an original and all of which, when taken together,
 3
            shall constitute one and the same document.
 4

 5
            DATED: October 16 , 2006.

 6    McNAMARA, GOLDSMITH, JACKSON                        TREON, AGUIRRE & NEWMAN, P.A.
       & MACDONALD, P.C.
 7

 8
      By:   s/Bruce G. Macdonald                          By:   s/Richard T. Treon
 9          Bruce G. Macdonald                                  Richard T. Treon
            1670 E. River Road, #200                            2700 N. Central Avenue, Suite 1400
10
            Tucson, AZ 85718                                    Phoenix, Arizona 85004-1133
11          Attorneys for Official Tort Claimants               Attorneys for Claimant No. 220
            Committee
12
      QUARLES BRADY STREICH LANG, LLP
13

14
      By:   s/Susan G. Boswell
15          Susan G. Boswell
            Kasey C. Nye
16
            One South Church Avenue, Suite 1700
17          Tucson, AZ 85701-1626
            Attorneys for Debtor
18

19

20

21

22

23

24

25

26

27

28




     Case 4:04-bk-04721-BMW       Doc 1085 Filed 10/16/06 Entered 10/16/06 17:27:28            Desc
                                  Main Document    5Page 14 of 14
